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                                                                  UNITED STATES BANKRUPTCY COURT
                                                                   WESTERN DISTRICT OF MICHIGAN


In re: BARFLY VENTURES, LLC, et al.,1                                                                           Case No. 20-1947-jwb
                                                                                                                Reporting Period: October 31, 2020


                                                                       MONTHLY OPERATING REPORT
                                     File with Court and submit copy to United States Trustee within 20 days after end of month.


Submit copy of report to any official committee appointed in the case.

                                                                                                                    Document          Explanation Affidavit/Supplement
REQUIRED DOCUMENTS                                                                       Form No.                    Attached          Attached         Attached
Schedule of Cash Receipts and Disbursements                                            MOR-1                    MOR 1 - Disbursements
   Bank Reconciliation (or copies of debtor's bank reconciliations)                    MOR-1a                            X
   Schedule of Professional Fees Paid                                                  MOR-1b                            X
   Copies of bank statements                                                                                          MOR 1a
   Cash disbursements journals
Statement of Operations                                                                MOR-2                           MOR 2a
Balance Sheet                                                                          MOR-3                             X
Status of Postpetition Taxes                                                           MOR-4                           MOR 4a
  Copies of IRS Form 6123 or payment receipt
  Copies of tax returns filed during reporting period
Summary of Unpaid Postpetition Debts                                                   MOR-4                              X
  Listing of aged accounts payable                                                     MOR-4
Accounts Receivable Reconciliation and Aging                                           MOR-5                              X
Debtor Questionnaire                                                                   MOR-5                              X


I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.


_______________________________________                                                ______________________________
Signature of Debtor                                                                    Date


_______________________________________                                                ______________________________
Signature of Joint Debtor                                                              Date

                                                                                       02/06/2021
_______________________________________                                                ______________________________
Signature of Authorized Individual*                                                    Date

 Ned Lidvall                                                                           CEO
_______________________________________                                                ______________________________
Printed Name of Authorized Individual                                                  Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.

1- The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC
Holdings, LLC (d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552),
HopCatConcessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad
Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCatLouisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St.
Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).
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In re: BARFLY VENTURES, LLC, et al.                                                                     Case No. 20-1947-jwb
                        Debtor                                                                          Reporting Period: October 31, 2020


                                         SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                  BANK ACCOUNTS                              CURRENT MONTH                   CUMULATIVE FILING TO DATE
                                         OPER.    PAYROLL       TAX       OTHER           ACTUAL            PROJECTED              ACTUAL              PROJECTED
CASH BEGINNING OF MONTH


RECEIPTS
CASH SALES
ACCOUNTS RECEIVABLE
LOANS AND ADVANCES
SALE OF ASSETS
                                                                                  See MOR 1 - Disbursements
OTHER (ATTACH LIST)
TRANSFERS (FROM DIP ACCTS)


  TOTAL RECEIPTS


DISBURSEMENTS
NET PAYROLL
PAYROLL TAXES
SALES, USE, & OTHER TAXES
INVENTORY PURCHASES
SECURED/ RENTAL/ LEASES
INSURANCE
ADMINISTRATIVE
SELLING
OTHER (ATTACH LIST)


OWNER DRAW *
TRANSFERS (TO DIP ACCTS)


PROFESSIONAL FEES
U.S. TRUSTEE QUARTERLY FEES
COURT COSTS
TOTAL DISBURSEMENTS


NET CASH FLOW
(RECEIPTS LESS DISBURSEMENTS)



CASH - END OF MONTH
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                          THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS                                                                                                                             $
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                              $
  PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                $
TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                 $
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In re: BARFLY VENTURES, LLC, et al.                                                                                                                                                             Case No. 20-1947-jwb
          Debtor                                                                                                                                                                     Reporting Period: October 31, 2020


                                                                                                                                       MOR 1 - Disbursements
                                     Beginning           In-transit           Ending Bank                                                                                                                Ending Bank             In-transit
                                    Balance BS         (deposits/ x-            Balance                                                                                              Service Charges       Balance             (deposits/ x-    Ending Balance
                                    9/27/2020            fer/disb.)           9/30/2020            Deposits      Disbursements        X-Fer Out         X-fer In      Chargebacks        & Other         10/31/2020              fer/disb.)     BS 10/27/2020
               Chemical 5015  $            9,849     $              -       $        9,849     $          -     $           -     $           -     $          -     $         -     $            28   $         9,821     $               0    $        9,821
               Chemical 7488  $        3,675,268     $             605      $    3,674,663     $          604   $           -     $     1,175,267   $          -     $         -     $           -     $     2,500,000     $             -      $    2,500,000
               Chemical 5554  $          338,900     $         (36,651)     $      375,551     $          -     $     2,091,153   $           -     $    1,800,267   $         -     $        36,651   $        48,014     $         872,701    $      920,715
        Main Merchantile 4777 $          356,974     $          92,454      $      264,520     $      11,213    $       989,144   $     1,029,245   $    2,079,054   $         -     $        17,055   $       319,343     $          83,052    $      402,395
              Mercantile 6311 $              113     $            (235)     $          348     $          -     $           235   $           -     $          -     $         -     $           -     $           113     $             -      $          113
              Mercantile 6926 $           30,014     $                (9)   $       30,023     $          -     $           -     $           -     $          -     $         -     $             8   $        30,015     $             -      $       30,015
          FSA-Mercantile 0888 $               -      $              -       $           -      $          -     $           -     $           -     $        2,961   $         -     $           -     $         2,961     $             -      $        2,961
        GRBC-Mercantile 1069  $            1,469     $           1,469      $           -      $      95,573    $        11,331   $        87,769   $        3,712   $        102    $            83   $              0    $          15,897    $       15,897
           AA-Mercantile 3877 $            7,092     $           7,092      $           -      $     216,919    $        28,412   $       187,566   $          -     $        848    $            93   $              0    $          12,397    $       12,397
        GRbel-Mercantile 0488 $           10,796     $          10,796      $           -      $     259,351    $        30,705   $       234,648   $        6,180   $        179    $           -     $              0    $          33,520    $       33,520
                  HCBR 3840   $            3,139     $           3,094      $            45    $     160,003    $        35,365   $       129,803   $        5,649   $        392    $            91   $            45     $          21,523    $       21,568
              HC Detroit 3859 $           11,502     $          11,502      $           -      $     234,457    $        30,034   $       204,159   $          -     $        170    $            94   $             (0)   $           9,980    $        9,980
                  HC EL 8171  $           10,444     $          10,444      $           -      $     239,943    $        26,457   $       217,197   $        4,331   $        528    $            94   $             (0)   $          26,411    $       26,411
                  HCGR 4123   $            9,750     $           9,750      $           -      $     238,007    $        33,041   $       213,639   $        8,854   $          86   $            94   $              0    $          22,743    $       22,743
                 HCHOL 0451   $            3,937     $           3,937      $           -      $     148,055    $        19,496   $       129,883   $        1,471   $          58   $            89   $              0    $          12,419    $       12,419
                  HCKC 9044   $                72    $               72     $           -      $          -     $           -     $           -     $          -     $         -     $           -     $           -       $              72    $           69
                  HCKZ 9227   $            9,457     $           9,457      $           -      $     259,248    $        31,751   $       233,354   $        6,198   $        297    $            44   $              0    $          25,893    $       25,893
                  HCLN 0830   $            9,207     $           9,207      $           -      $     171,716    $        26,029   $       145,545   $          -     $          49   $            93   $              0    $          23,884    $       23,884
                  HCLV 8353   $               (87)   $              (87)    $           -      $          -     $           -     $           -     $          -     $         -     $            86   $           (86)    $             -      $          (86)
                  HCLX 5216   $               (45)   $              -       $           (45)   $          -     $           -     $           -     $          -     $         -     $             1   $           (46)    $             -      $          (46)
                 HCMD 8215    $               -      $              -       $           -      $          -     $           -     $           -     $          -     $         -     $           -     $           -       $          (1,208)   $       (1,208)
                 HCMN 8664    $               -      $              -       $           -      $          -     $           -     $           -     $          -     $         -     $           -     $           -       $             -      $          -
                  HCRO 9062   $               (15)   $              (15)    $           -      $          -     $           -     $           -     $          -     $         -     $           -     $           -       $             (15)   $          (15)
                 Stellas 4115 $            4,716     $           4,716      $           -      $     164,346    $       164,346   $           -     $          -     $         -     $           -     $             (0)   $          17,138    $       17,138
                Waldron4460   $           31,392     $              -       $       31,392     $          -     $           -     $           -     $          -     $         -     $             1   $        31,391     $             -      $       31,391
                 HCCHIC6863   $                13    $               13     $           -      $          -     $           -     $           -     $          -     $         -     $           -     $           -       $              13    $           13
                  HCLIN8959   $           40,907     $          29,025      $       11,882     $      39,025    $           -     $           -     $       16,973   $         -     $            23   $        67,857     $         (11,242)   $       56,615
                    BFV4153   $           84,520     $          35,543      $       48,977     $      10,000    $           130   $           -     $       28,575   $         -     $            18   $        87,404     $         (83,953)   $        3,451
                    BFV9371   $          112,784     $          96,732      $       16,052     $          -     $           -     $        15,621   $          -     $         -     $           -     $           431     $          28,216    $       28,647
                    BFV9828   $            8,255     $         (27,674)     $       35,929     $      39,848    $           -     $           -     $       39,471   $         -     $           -     $       115,248     $        (110,431)   $        4,817
         Cash on hand & misc. $           50,971     $          50,971      $           -      $          -     $          -      $           -                      $         -     $           -     $           -       $         224,596    $      224,596
                                                     $              -       $           -                                                                                                                                  $             -
Total                           $      4,821,394     $        322,208       $    4,499,186 $ 2,288,309          $    3,517,629 $       4,003,697    $    4,003,697   $      2,708    $       54,647    $     3,212,510     $       1,223,606    $    4,436,114
                                $            -       $            -                    Prior Month Reversal     $      (36,651)                                -                                                                                         (1.97)
                                                                                    Disbursements in transit    $     (872,701)
Balance Sheet                   $      4,821,394                                       Total Disbursements      $    2,608,277                                                                                                                  $    4,436,114
Difference                      $            -                                                                                                                                                                                                  $          -
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In re: BARFLY VENTURES, LLC, et al.                                                                           Case No. 20-1947-jwb
                Debtor                                                                                        Reporting Period: October 31, 2020

                                                                BANK RECONCILIATIONS
                                                                  Continuation Sheet for MOR-1
                   A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

                                                        Operating                          Payroll                         Tax                                Other
                                              #                               #                               #                               #
BALANCE PER BOOKS

BANK BALANCE
(+) DEPOSITS IN TRANSIT (ATTACH LIST)
(-) OUTSTANDING CHECKS (ATTACH LIST)
OTHER (ATTACH EXPLANATION)
                                                                                              See Attachment MOR 1a
ADJUSTED BANK BALANCE *
* Adjusted bank balance must equal
   balance per books

DEPOSITS IN TRANSIT                                Date          Amount            Date          Amount            Date          Amount               Date        Amount




CHECKS OUTSTANDING                                Ck. #          Amount            Ch. #         Amount            Ck. #         Amount               Ck. #       Amount




OTHER
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In re: BARFLY VENTURES, LLC, et al.                                                                                                                                Case No. 20-1947-jwb
                Debtor                                                                                                                                Reporting Period: October 31, 2020

                                                     SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                             This schedule is to include all retained professional payments from case inception to current month.

                                                                               Amount                              Check                      Amount Paid               Filing-To-Date
                      Payee                          Period Covered           Approved           Payor         Number    Date              Fees      Expenses         Fees        Expenses

Rock Creek Advisors (Debtor FA)                      August               $        96,808    Debtor           WIRE                     $     77,446               $   303,315   $      -
Mastodon Ventures (Debtor IB)                        N/A                              N/A    Debtor           WIRE                     $        -                 $    60,000   $      -
Warner Norcross + Judd (Debtor - Local)              August               $        24,061    Debtor           WIRE                     $     19,249   $   1,059   $    68,456   $   49,238
Sugar Felsnethal Grais & Helsinger LLP (UCC)         August               $        41,950    Debtor           WIRE                     $     33,560               $   128,160   $        35
Jaffee Raitt Heuer & Weiss (UCC)                     August               $        17,235    Debtor           WIRE                     $     13,788               $    63,158   $        16
Amherst Partners (UCC FA)                            August               $         5,485    Debtor           WIRE                     $      4,388               $    26,936   $      -
Pachulski Stang Ziehl & Jones LLP (Debtor Counsel)   July/August          $        32,490    Debtor           WIRE                     $     31,823   $    356    $    31,823   $      356
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In re: BARFLY VENTURES, LLC, et al.                                                                               Case No. 20-1947-jwb
                Debtor                                                                                            Reporting Period: October 31, 2020

                                               STATEMENT OF OPERATIONS
                                                           (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.


                                                                                                                   Cumulative Filing to
REVENUES                                                                            Current Reporting Month              Date
Gross Revenues                                                                                     2,153,344                  8,445,922
Less: Returns and Allowances                                                                          70,929                    266,160
Net Revenue                                                                                        2,082,415                  8,179,762
COST OF GOODS SOLD
Beginning Inventory
Add: Purchases
Add: Cost of Labor
Add: Other Costs (attach schedule)
Less: Ending Inventory
Cost of Goods Sold                                                                                     547,775                 2,063,312
                                                                                                    1,534,640                  6,116,450
OPERATING EXPENSES
Advertising
Auto and Truck Expense
Bad Debts
Contributions
Employee Benefits Programs                                                                             90,827                      323,517
Insider Compensation*
Insurance
Management Fees/Bonuses
Office Expense
Pension & Profit-Sharing Plans
Repairs and Maintenance
Rent and Lease Expense                                                                                 135,695                 2,034,483
Salaries/Commissions/Fees                                                                              815,581                 3,420,137
Supplies
Taxes - Payroll
Taxes - Real Estate
Taxes - Other
Travel and Entertainment
Utilities
Other (See attached schedule) "Other"                                                                  587,378                 2,594,566
Total Operating Expenses Before Depreciation                                                        1,629,481                  8,372,703
Depreciation/Depletion/Amortization                                                                    448,582                 2,249,155
Net Profit (Loss) Before Other Income & Expenses                                                     (543,423)                (4,505,408)
OTHER INCOME AND EXPENSES
Other Income (attach schedule)                                                                          (5,129)                  (73,363)
Interest Expense                                                                                       242,657                 1,458,539
Other Expense (See attached schedule) "Other G&A"                                                        73,507                  417,527
Net Profit (Loss) Before Reorganization Items                                                        (854,458)                (6,308,111)
REORGANIZATION ITEMS
Professional Fees
Impairment                                                                                              66,610                     186,130
U. S. Trustee Quarterly Fees                                                                                                        59,430
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
Gain (Loss) from Sale of Equipment
Other Reorganization Expenses (attach schedule)                                                        181,670                     731,161
Total Reorganization Expenses
Income Taxes
Net Profit (Loss)                                                                                 ($1,102,738)                (7,284,832)

*"Insider" is defined in 11 U.S.C. Section 101(31).
                                                                   Case:20-01947-jwb                                                 Doc #:440 Filed: 02/09/2021                                                                       Page 7 of 15
In re: BARFLY VENTURES, LLC, et al.                                                                                                                                                                                                                                      Case No. 20-1947-jwb
                  Debtor                                                                                                                                                                                                                                                 Reporting Period: October 31, 2020

                                                                                                                                                          MOR 2A

                                                                  Fifty Amp Fuse, LLC dba                                   EL BREWPUB, LLC dba
                                         HopCat-GR                     Stella's Lounge           GRBC HOLDINGS               Hopcat East Lansing          Hopcat- Indianapolis         Hopcat-Detroit             Hopcat- Ann Arbor           Hopcat-Lincoln               Hopcat-Kalamazoo            HopCat-GR Beltline          HopCat - Holland
                                        Month To Date                 Month To Date               Month To Date                 Month To Date                Month To Date             Month To Date                Month To Date             Month To Date                  Month To Date               Month To Date              Month To Date
                                         10/25/2020                     10/25/2020                 10/25/2020                    10/25/2020                    10/25/2020                10/25/2020                  10/25/2020                 10/25/2020                     10/25/2020                  10/25/2020                 10/25/2020
                                                   % of Revenue                   % of Revenue               % of Revenue                  % of Revenue                 % of Revenue               % of Revenue                % of Revenue               % of Revenue                  % of Revenue                % of Revenue                % of Revenue
Restaurant Sales
 Sales - Food                           175,236        77.3 %          113,672        71.2 %       42,083        48.6 %         195,414        84.8 %        127,123        79.8 %      223,914        87.1 %       163,102        81.0 %      122,189        80.7 %          201,417       81.2 %        185,849       82.8 %       114,282        86.8 %
 Sales - Beer                            36,058        15.9 %           14,716         9.2 %       35,771        41.3 %          23,634        10.3 %          26,003       16.3 %       20,299         7.9 %        26,590        13.2 %       21,709        14.3 %           37,613       15.2 %         38,004       16.9 %        17,294        13.1 %
 Sales - Wine/Liquor                     18,626         8.2 %           32,378        20.3 %        9,400        10.8 %          17,733         7.7 %          10,148        6.4 %       19,256         7.5 %        12,960         6.4 %        9,976         6.6 %           19,239        7.8 %         16,035        7.1 %         9,809         7.5 %
 Sales - Beverages                        4,448         2.0 %            3,318         2.1 %        1,273         1.5 %           4,341         1.9 %           3,125        2.0 %        6,338         2.5 %         4,757         2.4 %        3,946         2.6 %            6,898        2.8 %          6,088        2.7 %         3,801         2.9 %
 Sales - Rental                               0         0.0 %                0         0.0 %        2,000         2.3 %             (22)       (0.0) %              0        0.0 %            0         0.0 %             0         0.0 %            0         0.0 %                0        0.0 %              0        0.0 %             0         0.0 %
 Sales - Retail                              99         0.0 %                8         0.0 %          100         0.1 %               0         0.0 %              18        0.0 %            0         0.0 %             3         0.0 %           30         0.0 %              95         0.0 %           175         0.1 %           116         0.1 %
 Sales - Loyalty                         (2,096)       (0.9) %               0         0.0 %            0         0.0 %          (3,125)       (1.4) %        (2,451)       (1.5) %      (3,516)       (1.4) %       (1,225)       (0.6) %      (1,420)       (0.9) %         (8,186)       (3.3) %      (11,277)       (5.0) %       (7,298)       (5.5) %
Gross Restaurant Sales                  232,371       102.5 %          164,092       102.7 %       90,627       104.6 %         237,975       103.2 %        163,966       102.9 %      266,291       103.6 %       206,187       102.3 %      156,430       103.3 %          257,076      103.7 %        234,874      104.7 %       138,004       104.9 %
Less: Discount and Comps                  5,605         2.5 %            4,386         2.7 %        3,978         4.6 %           7,416         3.2 %           4,591        2.9 %        9,187         3.6 %         4,732         2.3 %        5,004         3.3 %            9,155        3.7 %         10,467        4.7 %         6,408         4.9 %
Net Restaurant Sales                    226,766       100.0 %          159,706       100.0 %       86,649       100.0 %         230,559       100.0 %        159,375       100.0 %      257,104       100.0 %       201,455       100.0 %      151,426       100.0 %          247,921      100.0 %        224,407      100.0 %       131,596       100.0 %
Cost of Sales
 Cost of Sales - Pork                     2,011         0.9 %              646         0.4 %        2,029         2.3 %           2,357         1.0 %           1,462        0.9 %        2,646         1.0 %         2,024         1.0 %        1,530         1.0 %            2,431        1.0 %          2,092        0.9 %         1,269         1.0 %
 Cost of Sales - Beef/Other Meat Cost     6,149         2.7 %            5,483         3.4 %        1,471         1.7 %           6,505         2.8 %           4,436        2.8 %        7,295         2.8 %         5,729         2.8 %        4,248         2.8 %            6,184        2.5 %          6,203        2.8 %         4,635         3.5 %
 Cost of Sales - Fish                       742         0.3 %                0         0.0 %           (1)       (0.0) %            893         0.4 %            574         0.4 %        1,460         0.6 %           810         0.4 %          450         0.3 %            1,385        0.6 %          1,364        0.6 %         1,380         1.0 %
 Costs of Sales - Poultry                 3,992         1.8 %            2,814         1.8 %        1,117         1.3 %           5,241         2.3 %           4,038        2.5 %        7,768         3.0 %         5,857         2.9 %        3,320         2.2 %            5,843        2.4 %          4,953        2.2 %         2,791         2.1 %
 Cost of Sales - Produce                  4,748         2.1 %            4,128         2.6 %        1,996         2.3 %           5,307         2.3 %           3,181        2.0 %        5,895         2.3 %         4,805         2.4 %        3,565         2.4 %            5,713        2.3 %          5,585        2.5 %         3,115         2.4 %
 Cost of Sales - Dairy Cost               7,177         3.2 %            2,019         1.3 %        1,579         1.8 %           8,044         3.5 %           4,782        3.0 %        8,240         3.2 %         6,486         3.2 %        5,423         3.6 %            8,920        3.6 %          8,410        3.7 %         4,869         3.7 %
 Cost of Sales - Bakery                   2,956         1.3 %            2,215         1.4 %          422         0.5 %           3,272         1.4 %           2,182        1.4 %        3,614         1.4 %         2,707         1.3 %        2,531         1.7 %            3,170        1.3 %          3,009        1.3 %         1,833         1.4 %
 Cost of Sales - Grocery                 10,400         4.6 %           11,076         6.9 %        1,367         1.6 %          11,606         5.0 %           7,974        5.0 %       12,834         5.0 %        10,582         5.3 %        8,139         5.4 %           12,896        5.2 %         10,342        4.6 %         6,979         5.3 %
 Cost of Sales - Potato Cost              4,590         2.0 %            2,782         1.7 %        1,463         1.7 %           4,823         2.1 %           2,806        1.8 %        5,450         2.1 %         4,351         2.2 %        2,616         1.7 %            5,034        2.0 %          4,571        2.0 %         2,562         1.9 %
 Cost of Sales - Beer                    10,543         4.6 %            3,735         2.3 %          256         0.3 %           6,074         2.6 %           8,356        5.2 %        6,473         2.5 %         6,409         3.2 %        6,311         4.2 %           10,573        4.3 %          8,788        3.9 %         4,299         3.3 %
 Cost of Sales - Brewed Beer                 31         0.0 %                0         0.0 %        6,842         7.9 %               0         0.0 %               0        0.0 %            0         0.0 %             0         0.0 %            0         0.0 %                0        0.0 %              0        0.0 %             0         0.0 %
 Cost of Sales - Wine/Liquor              3,412         1.5 %            7,345         4.6 %        2,084         2.4 %           3,150         1.4 %           2,082        1.3 %        5,002         1.9 %         2,430         1.2 %        1,847         1.2 %            3,782        1.5 %          3,453        1.5 %         2,164         1.6 %
 Cost of Sales - Beverages                  591         0.3 %              422         0.3 %            7         0.0 %             738         0.3 %            435         0.3 %        1,238         0.5 %           777         0.4 %        1,071         0.7 %            1,025        0.4 %          1,139        0.5 %           507         0.4 %
 Cost of Sales - Retail                       0         0.0 %            1,447         0.9 %          830         1.0 %              42         0.0 %               0        0.0 %            0         0.0 %           (20)       (0.0) %          12         0.0 %                8        0.0 %            (4)       (0.0) %        (248)        (0.2) %
Total Cost of Sales                      57,342        25.3 %           44,112        27.6 %       21,462        24.8 %          58,052        25.2 %          42,308       26.5 %       67,915        26.4 %        52,947        26.3 %       41,063        27.1 %           66,964       27.0 %         59,905       26.7 %        36,155        27.5 %
Restaurant Labor
 Wages - Salary                          21,099         9.3 %           19,455        12.2 %       13,404        15.5 %          17,133         7.4 %          16,781       10.5 %       18,158         7.1 %        13,699         6.8 %       17,100        11.3 %           16,412        6.6 %         21,129        9.4 %        13,769        10.5 %
 Wages - Hourly                          43,514        19.2 %           28,353        17.8 %       19,296        22.3 %          44,929        19.5 %          24,459       15.3 %       53,081        20.6 %        39,778        19.7 %       32,123        21.2 %           46,818       18.9 %         43,565       19.4 %        27,319        20.8 %
 Wages - Bonuses                          7,543         3.3 %            7,478         4.7 %          149         0.2 %          12,417         5.4 %          10,145        6.4 %        9,576         3.7 %         6,548         3.3 %       10,898         7.2 %            8,066        3.3 %          6,103        2.7 %         4,260         3.2 %
Total Wages                              72,156        31.8 %           55,286        34.6 %       32,849        37.9 %          74,479        32.3 %          51,385       32.2 %       80,815        31.4 %        60,025        29.8 %       60,121        39.7 %           71,296       28.8 %         70,797       31.5 %        45,348        34.5 %
Taxes & Benefits
 Payroll Taxes                            7,372         3.3 %            5,403         3.4 %        2,588         3.0 %           8,023         3.5 %           4,522        2.8 %        7,939         3.1 %         6,362         3.2 %        5,904         3.9 %            8,157        3.3 %          8,089        3.6 %         3,490         2.7 %
 Employee Benefits - Health               2,278         1.0 %            2,871         1.8 %        3,983         4.6 %           1,404         0.6 %           2,567        1.6 %        3,715         1.4 %         1,243         0.6 %        2,232         1.5 %            1,912        0.8 %          2,572        1.1 %           917         0.7 %
 Employee Benefits - Vacation             1,748         0.8 %            3,151         2.0 %        2,392         2.8 %           4,141         1.8 %           3,696        2.3 %        3,506         1.4 %         1,495         0.7 %        5,467         3.6 %            6,154        2.5 %          5,473        2.4 %         1,091         0.8 %
 Employee Benefits - Workers Comp           463         0.2 %              367         0.2 %          270         0.3 %             526         0.2 %            302         0.2 %          506         0.2 %           474         0.2 %          371         0.2 %             483         0.2 %           442         0.2 %           352         0.3 %
Total Taxes & Benefits                   11,861         5.2 %           11,792         7.4 %        9,233        10.7 %          14,094         6.1 %          11,087        7.0 %       15,666         6.1 %         9,574         4.8 %       13,974         9.2 %           16,706        6.7 %         16,576        7.4 %         5,850         4.4 %
Total Labor                              84,017        37.1 %           67,078        42.0 %       42,082        48.6 %          88,573        38.4 %          62,472       39.2 %       96,481        37.5 %        69,599        34.5 %       74,095        48.9 %           88,002       35.5 %         87,373       38.9 %        51,198        38.9 %
Restaurant Operating Expenses
 Controllable
  Advertising & Marketing                 7,006         3.1 %                0         0.0 %            0         0.0 %           5,252         2.3 %           6,365        4.0 %       10,665         4.1 %         5,285         2.6 %        3,561         2.4 %            4,914        2.0 %          2,419        1.1 %         2,239         1.7 %
  Cash Over and Short                      (283)       (0.1) %            (425)       (0.3) %          (8)       (0.0) %            238         0.1 %            389         0.2 %          454         0.2 %           830         0.4 %          183         0.1 %             317         0.1 %           242         0.1 %         (662)        (0.5) %
  Employee Incentives                         0         0.0 %                0         0.0 %            0         0.0 %               0         0.0 %               0        0.0 %           16         0.0 %             0         0.0 %            0         0.0 %                0        0.0 %              0        0.0 %             0         0.0 %
  Janitorial                              1,050         0.5 %            1,221         0.8 %        1,400         1.6 %              18         0.0 %           3,325        2.1 %        5,073         2.0 %         2,316         1.1 %        (251)        (0.2) %           1,814        0.7 %          1,297        0.6 %           667         0.5 %
  Outside Services                        3,280         1.4 %            2,707         1.7 %        2,799         3.2 %           4,367         1.9 %           1,259        0.8 %        6,427         2.5 %         3,446         1.7 %        2,255         1.5 %            3,123        1.3 %          3,766        1.7 %         3,493         2.7 %
  Repairs & Maintenance                    (389)       (0.2) %               0         0.0 %        1,076         1.2 %           2,018         0.9 %           2,286        1.4 %          814         0.3 %         2,049         1.0 %        1,878         1.2 %            3,075        1.2 %          1,756        0.8 %         1,063         0.8 %
  Supplies                               17,103         7.5 %           13,378         8.4 %        5,363         6.2 %          17,361         7.5 %           7,068        4.4 %       20,078         7.8 %         9,331         4.6 %        9,805         6.5 %           16,162        6.5 %         13,642        6.1 %         8,659         6.6 %
  Travel                                      0         0.0 %                0         0.0 %            0         0.0 %           1,585         0.7 %               0        0.0 %            0         0.0 %             0         0.0 %            0         0.0 %                0        0.0 %              0        0.0 %             0         0.0 %
 Total Controllable                      27,767        12.2 %           16,881        10.6 %       10,630        12.3 %          30,839        13.4 %          20,692       13.0 %       43,527        16.9 %        23,257        11.5 %       17,431        11.5 %           29,405       11.9 %         23,122       10.3 %        15,459        11.7 %
 Non-Controllable
  Bank Service Charges                       97         0.0 %               92         0.1 %           85         0.1 %              96         0.0 %              92        0.1 %           94         0.0 %            93         0.0 %          250         0.2 %              45         0.0 %             95        0.0 %            92         0.1 %
  Business Taxes                            502         0.2 %              353         0.2 %          674         0.8 %           1,941         0.8 %           1,039        0.7 %        2,467         1.0 %         2,620         1.3 %          907         0.6 %            1,350        0.5 %           939         0.4 %         1,121         0.9 %
  Charitable Contributions                    0         0.0 %                0         0.0 %            0         0.0 %               0         0.0 %               0        0.0 %            0         0.0 %             0         0.0 %            0         0.0 %                0        0.0 %              0        0.0 %             0         0.0 %
  Equipment Rentals                       2,556         1.1 %              979         0.6 %        1,244         1.4 %           1,558         0.7 %           1,634        1.0 %        2,996         1.2 %         1,513         0.8 %        1,625         1.1 %            1,282        0.5 %          2,917        1.3 %         1,820         1.4 %
  Gift Card Discount                      1,850         0.8 %                0         0.0 %            0         0.0 %             619         0.3 %               0        0.0 %          709         0.3 %         1,035         0.5 %          281         0.2 %            1,273        0.5 %           618         0.3 %             0         0.0 %
  Insurance                               2,193         1.0 %            1,576         1.0 %        1,025         1.2 %           2,266         1.0 %           2,686        1.7 %        2,920         1.1 %         2,022         1.0 %        2,664         1.8 %            2,576        1.0 %          2,247        1.0 %         1,404         1.1 %
  Legal Fees                                  0         0.0 %                0         0.0 %            0         0.0 %               0         0.0 %               0        0.0 %            0         0.0 %             0         0.0 %            0         0.0 %                0        0.0 %              0        0.0 %             0         0.0 %
  Licenses & Permits                        791         0.3 %              783         0.5 %          758         0.9 %           2,666         1.2 %              60        0.0 %        1,079         0.4 %         2,275         1.1 %           64         0.0 %             696         0.3 %           750         0.3 %         1,178         0.9 %
  Merchant Account Fees                   4,228         1.9 %            2,490         1.6 %        1,818         2.1 %           3,718         1.6 %           2,519        1.6 %        3,275         1.3 %         3,775         1.9 %        3,187         2.1 %            4,608        1.9 %          4,729        2.1 %         3,352         2.5 %
  Music, Cable, Internet                  2,536         1.1 %            1,885         1.2 %        2,384         2.8 %           2,482         1.1 %           2,115        1.3 %        2,538         1.0 %         2,895         1.4 %        2,184         1.4 %            2,778        1.1 %          2,459        1.1 %         1,778         1.4 %
  Processing Fees                         9,424         4.2 %            5,073         3.2 %          432         0.5 %           9,181         4.0 %           8,086        5.1 %       14,856         5.8 %         8,820         4.4 %        5,503         3.6 %            8,708        3.5 %          3,883        1.7 %         4,155         3.2 %
  Professional Fees                           0         0.0 %                0         0.0 %            0         0.0 %               0         0.0 %               0        0.0 %            0         0.0 %             0         0.0 %           13         0.0 %                0        0.0 %              0        0.0 %             0         0.0 %
  Storage                                   300         0.1 %                0         0.0 %            0         0.0 %               0         0.0 %               0        0.0 %            0         0.0 %             0         0.0 %            0         0.0 %                0        0.0 %           190         0.1 %             0         0.0 %
  Telephone                                 689         0.3 %              585         0.4 %          627         0.7 %             668         0.3 %            529         0.3 %          365         0.1 %           383         0.2 %          244         0.2 %             201         0.1 %           218         0.1 %           292         0.2 %
  Utilities                               3,046         1.3 %             (307)       (0.2) %       9,479        10.9 %           3,846         1.7 %         (1,900)       (1.2) %       9,718         3.8 %         2,452         1.2 %        2,312         1.5 %            5,481        2.2 %          2,392        1.1 %         2,313         1.8 %
 Total Non-Controllable                  28,212        12.4 %           13,509         8.5 %       18,526        21.4 %          29,041        12.6 %          16,860       10.6 %       41,017        16.0 %        27,883        13.8 %       19,234        12.7 %           28,998       11.7 %         21,437        9.6 %        17,505        13.3 %
Total Restaurant Operating Expenses      55,979        24.7 %           30,390        19.0 %       29,156        33.6 %          59,880        26.0 %          37,552       23.6 %       84,544        32.9 %        51,140        25.4 %       36,665        24.2 %           58,403       23.6 %         44,559       19.9 %        32,964        25.0 %
Restaurant Occupancy Costs
 Rent - Building                         12,585         5.5 %            2,500         1.6 %       13,064        15.1 %           9,507         4.1 %          12,369        7.8 %       23,798         9.3 %        23,026        11.4 %       13,055         8.6 %           14,528        5.9 %         15,522        6.9 %         5,417         4.1 %
 Rent - Percent of Sales                      0         0.0 %            3,903         2.4 %            0         0.0 %               0         0.0 %           1,870        1.2 %            0         0.0 %             0         0.0 %            0         0.0 %                0        0.0 %              0        0.0 %             0         0.0 %
 Rent - Other                              (625)       (0.3) %               0         0.0 %         (828)       (1.0) %              0         0.0 %         (4,409)       (2.8) %      (6,667)       (2.6) %       (1,134)       (0.6) %      (2,897)       (1.9) %         (1,504)       (0.6) %         (992)       (0.4) %       (2,109)       (1.6) %
 CAM Expenses                             3,477         1.5 %                0         0.0 %        5,277         6.1 %           3,597         1.6 %           5,515        3.5 %            0         0.0 %         5,650         2.8 %        4,501         3.0 %            3,368        1.4 %           250         0.1 %             0         0.0 %
 Real Estate Taxes                            0         0.0 %            2,070         1.3 %            0         0.0 %               0         0.0 %               0        0.0 %        2,117         0.8 %             0         0.0 %            0         0.0 %                0        0.0 %          2,750        1.2 %             0         0.0 %
Total Restaurant Occupancy Costs         15,437         6.8 %            8,473         5.3 %       17,513        20.2 %          13,104         5.7 %          15,345        9.6 %       19,248         7.5 %        27,542        13.7 %       14,659         9.7 %           16,392        6.6 %         17,530        7.8 %         3,308         2.5 %
Restaurant Level Margin                  13,991         6.2 %            9,653         6.0 %      (23,564)     (27.2) %          10,950         4.7 %           1,698        1.1 %      (11,084)       (4.3) %          227         0.1 %      (15,056)       (9.9) %          18,160        7.3 %         15,040        6.7 %         7,971         6.1 %
Depreciation and Amortization             6,771         3.0 %            5,777         3.6 %       27,336        31.5 %          20,066         8.7 %          23,810       14.9 %       42,570        16.6 %        21,759        10.8 %       26,846        17.7 %           29,492       11.9 %         19,436        8.7 %        18,358        14.0 %
G&A Allocation                           18,490         8.2 %           13,022         8.2 %        7,065         8.2 %          18,799         8.2 %          12,995        8.2 %       20,964         8.2 %        16,426         8.2 %       12,347         8.2 %           20,215        8.2 %         18,298        8.2 %        10,730         8.2 %
Impairment and Disposal Charges               0         0.0 %                0         0.0 %            0         0.0 %               0         0.0 %               0        0.0 %            0         0.0 %             0         0.0 %            0         0.0 %                0        0.0 %              0        0.0 %             0         0.0 %
Income from Operations                  (11,270)       (5.0) %          (9,146)       (5.7) %     (57,965)     (66.9) %         (27,915)     (12.1) %        (35,107)     (22.0) %      (74,618)     (29.0) %       (37,958)     (18.8) %      (54,249)     (35.8) %         (31,547)     (12.7) %       (22,694)     (10.1) %      (21,117)      (16.0) %
Interest Expense                         26,494        11.7 %           18,659        11.7 %       10,123        11.7 %          26,937        11.7 %          18,620       11.7 %       30,038        11.7 %        23,537        11.7 %       17,691        11.7 %           28,965       11.7 %         26,218       11.7 %        15,375        11.7 %
Other Income                               (222)      (0.1) %              (18)      (0.0) %          (27)      (0.0) %            (225)      (0.1) %            (78)      (0.0) %         (196)      (0.1) %          (180)      (0.1) %          (81)       (0.1) %           (286)       (0.1) %         (481)       (0.2) %        (259)        (0.2) %
Net Income                              (37,542)     (16.6) %          (27,787)     (17.4) %      (68,062)     (78.5) %         (54,627)     (23.7) %        (53,649)     (33.7) %     (104,460)     (40.6) %       (61,315)     (30.4) %      (71,859)      (47.5) %        (60,226)      (24.3) %      (48,431)      (21.6) %     (36,233)       (27.5) %
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In re: BARFLY VENTURES, LLC, et al.                                                                                                    Case No. 20-1947-jwb
                                Debtor                                                                                                 Reporting Period: October 31, 2020

                                                                          BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                BOOK VALUE AT END OF                           BOOK VALUE ON
                                        ASSETS                                                CURRENT REPORTING MONTH                          PETITION DATE
CURRENT ASSETS
Unrestricted Cash and Equivalents                                                                                        $4,436,114                               $6,661,689
Restricted Cash and Cash Equivalents (see continuation sheet)
Accounts Receivable (Net)                                                                                                    169,548                                 $36,786
Notes Receivable
Inventories                                                                                                                  505,382                               $628,379
Prepaid Expenses                                                                                                             541,710                               $385,740
Professional Retainers
Other Current Assets (attach schedule)
TOTAL CURRENT ASSETS                                                                                                     $5,652,754                               $7,712,594
PROPERTY AND EQUIPMENT
Real Property and Improvements
Machinery and Equipment                                                                                                   19,284,102                             $21,414,637
Furniture, Fixtures and Office Equipment
Leasehold Improvements
Vehicles
Less Accumulated Depreciation
TOTAL PROPERTY & EQUIPMENT                                                                                             $19,284,102                               $21,414,637
OTHER ASSETS
Loans to Insiders* 1                                                                                                                                                     $0
Other Assets (attach schedule)                                                                                               794,219                                 857,662
TOTAL OTHER ASSETS                                                                                                         $794,219                                $857,662

TOTAL ASSETS                                                                                                           $25,731,075                               $29,984,893


                                                                                                BOOK VALUE AT END OF                           BOOK VALUE ON
                 LIABILITIES AND OWNER EQUITY                                                 CURRENT REPORTING MONTH                          PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable                                                                                                         $2,080,758
Taxes Payable (refer to FORM MOR-4)
Wages Payable
Accrued Liabilities (see schedule)                                                                                         2,167,420
Deferred Lease Credits
Secured Debt / Leases Obligations (Post Petition Interest)                                                                   289,470
Professional Fees
Amounts Due to Insiders*
Other Postpetition Liabilities (attach schedule)
TOTAL POSTPETITION LIABILITIES                                                                                           $4,537,648
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt                                                                                                           $29,729,084                               $29,729,084
Priority Debt
Unsecured Debt
 Accounts Payable                                                                                                         5,154,857                                 5,154,857
 PPP Loan                                                                                                                 6,482,827                                 6,482,827
 Acrued Liabilites (see schedule)                                                                                            60,188                                 1,412,643
 Other Liabilities (see schedule)                                                                                           187,244                                   185,318
 Deferred Lease Credits                                                                                                   9,918,628                                10,065,439
TOTAL PRE-PETITION LIABILITIES                                                                                         $51,532,828                               $53,030,168

TOTAL LIABILITIES                                                                                                      $56,070,476                               $53,030,168
OWNER EQUITY
Member Activity                                                                                                        $16,480,291                               $16,495,173
Additional Paid-In Capital
Partners' Capital Account
Owner's Equity Account
Retained Earnings                                                                                                       (31,611,870)                             (31,611,871)
Adjustments to Owner Equity (attach schedule)
Net Income                                                                                                              (15,207,822)                              (7,928,577)
NET OWNER EQUITY                                                                                                        (30,339,401)                             (23,045,275)

TOTAL LIABILITIES AND OWNERS' EQUITY                                                                                   $25,731,075                               $29,984,893

*"Insider" is defined in 11 U.S.C. Section 101(31).

1-                                                                                                                                                     .
     At December 31, 2018, the Company had unsecured, noninterest bearing advances due from a member in the amount of $1,554,059
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In re: BARFLY VENTURES, LLC, et al.                                                                              Case No. 20-1947-jwb
         Debtor Debtor                                                                                           Reporting Period: October 31, 2020



                                                  BALANCE SHEET - continuation sheet

                                                                                  BOOK VALUE AT END OF                     BOOK VALUE ON
                                 ASSETS                                         CURRENT REPORTING MONTH                    PETITION DATE
Other Current Assets



Other Assets
          Liquor License/Trademarks/Goodwill                                                           794,219                                  857,661




                                                                                                                           BOOK VALUE ON
                                  LIABILITIES AND OWNER EQUITY                                                             PETITION DATE
Other Postpetition Liabilities

          Current portion of long-term debt and capital lease obligations                               96,406                                   94,480
          Warrant Liability                                                                             90,838                                   90,838


Adjustments to Owner Equity




Postpetition Contributions (Distributions) (Draws)




Accrued Liabilities

          Accrued Property Tax                                                                          29,681                                  35,392
          Accrued Compensation                                                                         542,039                                 393,145
          Deferred Revenue                                                                             630,359                                 725,486
          Use Tax                                                                                        2,677                                   1,605
          Sales Tax                                                                                    130,166                                      44
          Personal Property Tax                                                                        134,149                                 125,994
          Accrued Insurance                                                                            -90,743
          Other                                                                                        759,663                                  13,330
           Gas                                                                                                                                   3,876
           Water & Sewer                                                                                                                        16,892
           Trash                                                                                                                                 3,971
           Steam                                                                                                                                 2,308
           Electric                                                                                                                             31,582
          Deposit                                                                                                                               40,869
          Credit Card Liability                                                                         24,029                                  17,736
          Print Charges                                                                                                                            413
          Tax- Other                                                                                     5,400

                                                                        Total                       2,167,420                                1,412,643




Restricted Cash is cash that is restricted for a specific use and not available to fund operations. Typically, restricted cash is segregated
into a separate account, such as an escrow account.
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In re: BARFLY VENTURES, LLC, et al.                                                                      Case No. 20-1947-jwb
              Debtor                                                                                     Reporting Period: October 31, 2020

                                                      STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                      Beginning         Amount                                                                Ending
                                                        Tax            Withheld or         Amount              Date           Check No.         Tax
                                                      Liability         Accrued             Paid               Paid            or EFT         Liability
Federal
Withholding
FICA-Employee
FICA-Employer
Unemployment
Income                                                                                    See Attachment MOR 4a
Other:_________________
  Total Federal Taxes
State and Local
Withholding
Sales
Excise
Unemployment
Real Property
Personal Property
Other:_________________
  Total State and Local
Total Taxes


                                            SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                          Number of Days Past Due
                                                       Current             0-30            31-60          61-90                Over 90         Total
Accounts Payable                                        $925,186           $375,424         $360,554      $388,371               $31,223      $2,080,758
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
Secured Debt/Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other:__________________________
Other:__________________________
Total Postpetition Debts                                 $925,186          $375,424          $360,554          $388,371           $31,223     $2,080,758

Explain how and when the Debtor intends to pay any past-due postpetition debts.




*"Insider" is defined in 11 U.S.C. Section 101(31).
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                                                                                                                 MOR 4A                                                                      Payroll Register - Company Totals



Company Totals            Hours                                 Earnings                                                                        Statutory Deductions                         Voluntary Deductions    Net Pay
Company Code
FB7 - Barfly Ventures     Reg                       19,584.92 Reg                       317,781.23      O/T                            2,150.36 FIT                          29,409.85            Total Deductions             532 Pays
LLC                       O/T                           99.22 Earnings 3                122,646.77      Earnings 4                         0.00 SS                           26,884.55            361,625.47                     724.49
                          Hours 3                        0.00 Earnings 5                      0.00      Gross                        442,578.36 Med                           6,259.50
                          Hours 4                        0.00                                                                                   State                        14,388.03
                                                                                                                                                Local                         3,286.47

Earnings Analysis         CAR CAR                     230.77                   OTH OTHER                      3,168.94                          RET RETROACTIVE                915.25             T TIPS                   118,331.81
                          ALLOWANCE
Memo Analysis             B W2 Box 12 HTH           18,116.07                  ERH ER HTH                   14,121.67                           ERL ER Life Insurance          207.36             T                            35,339.77
                          Value                                                Contribution
Statutory Ded. Analysis   IN                          686.56                   MI                           12,846.26                           NE                             855.21             1506                             36.54
                          1540                          26.78                  1562                            253.98                           1563                            12.80             2040                             19.08
                          2301                        453.09                   2303                           1,208.42                          2328                           226.16             2331                            655.99
                          2332                          34.28                  2356                            120.68                           2357                           238.67
Voluntary Ded. Analysis   67 Child Support            209.20                   73 Garnishment                  167.92                           75 Child Support               178.37             76 Child Support                194.91
                          77 Child Support              35.13                  78 Child Support                662.32                           8 *TIP CREDIT                35,339.77            CEL Cell Phone               (1,130.68)
                          CK1 CHECKING             195,685.80                  CK2 CHECKING                 12,615.28                           CK3 CHECKING                  7,751.67            CK4 CHECKING                  3,681.28
                          DEN DENTAL                 1,330.23                  EMI Expense                    (635.43)                          HSA HSAAPRE                     50.00             HSC HSA CHECKING                 50.00

                          HSO HSA OFFSET              (50.00)                  HTH HEALTH INS                 5,044.21                          IDT IDENTITY THFT               89.16             K 401K TRAD $                 1,975.36

                          LIF LIFE INS                108.38                   LTD LONG TERM                     84.21                          PAR PARKING FSA                187.50             Q *TIP CR OFFSET         (35,339.77)
                                                                               DIS
                          R 401K ROTH $               507.43                   RRD Reissue Rtnd                (81.83)                          STD SHORT TERM                 442.74             SV1 SAVING                   12,808.85
                                                                               De                                                               DIS
                          SV2 SAVING                  938.90                   T TIPS                      118,331.81                           TEL TELEDOC                     40.50             VIS VISION                      352.25
Net Payroll :                             724.49                Checks :                           0                     Flagged :                                      15               eVouchers :                                 532
Total Deposits :                      233481.78                 Vouchers :                        532                    Net Cash Pays 1,000.00 or More :               70               Paper Vouchers Printed :                      0
Net Voids :                               724.49                Adjustments:                       2
Net Cash :                           233,481.78
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                                                                                                                  MOR 4A                                                                        Payroll Register - Company Totals



Company Totals            Hours                                  Earnings                                                                        Statutory Deductions                           Voluntary Deductions    Net Pay
Company Code
FB7 - Barfly Ventures     Reg                        20,191.49 Reg                       324,550.19      O/T                            1,066.07 FIT                           29,651.29             Total Deductions             541 Pays
LLC                       O/T                            51.36 Earnings 3                124,584.74      Earnings 4                         0.00 SS                            27,387.68             368,864.91                       0.00
                          Hours 3                         0.00 Earnings 5                      0.00      Gross                        450,201.00 Med                            6,371.55
                          Hours 4                         0.00                                                                                   State                         14,567.73
                                                                                                                                                 Local                          3,357.84

Earnings Analysis         CAR CAR                      230.77                   T TIPS                      124,353.97
                          ALLOWANCE
Memo Analysis             B W2 Box 12 HTH            17,353.68                  ERH ER HTH                   13,435.69                           ERL ER Life Insurance            201.60             T                            37,758.95
                          Value                                                 Contribution
Statutory Ded. Analysis   IN                           696.60                   MI                           13,090.13                           NE                               781.00             1506                             36.54
                          1540                           26.78                  1562                            256.07                           1563                              10.05             2040                             15.38
                          2301                         415.75                   2303                           1,277.04                          2328                             247.42             2331                            678.87
                          2332                           33.64                  2356                            129.39                           2357                             230.91
Voluntary Ded. Analysis   67 Child Support             581.49                   73 Garnishment                  132.67                           75 Child Support                 178.37             76 Child Support                210.18
                          77 Child Support               37.89                  78 Child Support                659.82                           8 *TIP CREDIT                 37,758.95             CEL Cell Phone               (1,199.90)
                          CK1 CHECKING              197,911.97                  CK2 CHECKING                 12,710.92                           CK3 CHECKING                   7,513.37             CK4 CHECKING                  3,203.26
                          DEN DENTAL                  1,214.88                  HSA HSAAPRE                       50.00                          HSC HSA CHECKING                  50.00             HSO HSA OFFSET                  (50.00)

                          HTH HEALTH INS              4,673.40                  IDT IDENTITY                      89.16                          K 401K TRAD $                  1,990.89             LIF LIFE INS                    100.28
                                                                                THFT
                          LTD LONG TERM DIS              83.09                  PAR PARKING FSA                 117.50                           Q *TIP CR OFFSET             (37,758.95)            R 401K ROTH $                   507.43

                          RRD Reissue Rtnd De           (0.80)                  STD SHORT TERM                  422.76                           SV1 SAVING                    11,959.84             SV2 SAVING                      985.00
                                                                                DIS
                          T TIPS                    124,353.97                  TEL TELEDOC                       40.50                          VIS VISION                       336.97
Net Payroll :                                0.00                Checks :                           0                     Flagged :                                      8                  eVouchers :                                 541
Total Deposits :                      234284.36                  Vouchers :                        541                    Net Cash Pays 1,000.00 or More :               62                 Paper Vouchers Printed :                      0
Net Voids :                                  0.00                Adjustments:                       0
Net Cash :                           234,284.36
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                                                                                  MOR 4A                                                              Statistical Summary
                                             Statistical Summary
Company:FB7 - Barfly Ventures LLC
                                Service Center:0056 Great Lakes                Status:Under Review
Week#:41                        Pay Date:10/09/2020                            P/E Date:10/04/2020
Qtr/Year:4/2020                 Run Time/Date:16:47:54 PM EDT 10/07/2020

Taxes Debited                   Federal Income Tax                                         29,409.85
                                Earned Income Credit Advances                                    0.00
                                Social Security - EE                                       26,884.55
                                Social Security - ER                                       27,005.57
                                Social Security Adj - EE                                         0.00
                                Medicare - EE                                               6,259.50
                                Medicare - ER                                               6,315.82
                                Medicare Adj - EE                                                0.00
                                Medicare Surtax - EE                                             0.00
                                Medicare Surtax Adj - EE                                         0.00
                                COBRA Premium Assistance Payments                                0.00
                                Federal Unemployment Tax                                      770.73
                                Families First FMLA-PSL Payments Credit                          0.00                Note: If you have requested ADP to defer your Employer
                                Families First ER Medicare Credit                                0.00                Social Security taxes under the CARES Act, this report
                                Families First FMLA-PSL Health Care Premium
                                                                                                                     will not display the amount that will be deferred. The
                                Credit                                                           0.00
                                                                                                                     actual amount of Employer Social Security tax deferred
                                CARES Retention Qualified Payments Credit                        0.00
                                CARES Retention Qualified Health Care Credit                     0.00                will be displayed on your Tax Invoice in ADP
                                State Income Tax                                           14,388.03                 SmartCompliance with Reason Code CV.
                                Non Resident State Income Tax                                    0.00
                                State Unemployment Insurance - EE                                0.00
                                State Unemployment Insurance Adj - EE                            0.00
                                State Disability Insurance - EE                                  0.00
                                State Disability Insurance Adj - EE                              0.00
                                State Unemployment/Disability Ins - ER                      2,411.75
                                State Family Leave Insurance - EE                                0.00
                                State Family Leave Insurance - ER                                0.00
                                State Medical Leave Insurance - EE                               0.00
                                State Medical Leave Insurance - ER                               0.00
                                Transit Tax - EE                                                 0.00
                                Workers’ Benefit Fund Assessment - EE                            0.00
                                Workers’ Benefit Fund Assessment - ER                            0.00
                                Local Income Tax                                            3,286.47
                                School District Tax                                              0.00
                                Total Taxes Debited                                                     116,732.27
Other Transfers                 Full Service Direct Deposit Acct. No.5413485554Tran/ABA072410013        233,481.78
                                Wage Garnishments Acct. No.5413485554Tran/ABA072410013                    1,447.85                                Total Liability
                                Total Amount Debited From Your Account                                                               351,661.90                     351,661.90
Bank Debits & Other Liability   Checks                                                                       0.00                                                   351,661.90
                                Adjustments/Prepay/Voids                                                   724.49                                                   352,386.39
Taxes- Your Responsibility      None this payroll
                                                                                                                                                                    352,386.39
                                        Case:20-01947-jwb             Doc #:440 Filed: 02/09/2021           Page 14 of 15
                                                                                  MOR 4A                                                               Statistical Summary
                                             Statistical Summary
Company:FB7 - Barfly Ventures LLC
                                Service Center:0056 Great Lakes                Status:Under Review
Week#:43                        Pay Date:10/26/2020                            P/E Date:10/18/2020
Qtr/Year:4/2020                 Run Time/Date:16:50:26 PM EDT 10/22/2020

Taxes Debited                   Federal Income Tax                                         29,651.29
                                Earned Income Credit Advances                                    0.00
                                Social Security - EE                                       27,387.68
                                Social Security - ER                                       27,513.60
                                Social Security Adj - EE                                         0.00
                                Medicare - EE                                               6,371.55
                                Medicare - ER                                               6,434.63
                                Medicare Adj - EE                                                0.00
                                Medicare Surtax - EE                                             0.00
                                Medicare Surtax Adj - EE                                         0.00
                                COBRA Premium Assistance Payments                                0.00
                                Federal Unemployment Tax                                      757.97
                                Families First FMLA-PSL Payments Credit                          0.00
                                Families First ER Medicare Credit                                0.00                Note: If you have chosen to defer your Employer Social
                                Families First FMLA-PSL Health Care Premium                                          Security taxes under the CARES Act, then this report will
                                Credit                                                           0.00                not display deferral information. Actual amounts being
                                CARES Retention Qualified Payments Credit                        0.00                deferred will display on your Tax Invoices with Reason
                                CARES Retention Qualified Health Care Credit                     0.00                Code CV in ADP SmartCompliance.
                                State Income Tax                                           14,567.73
                                Non Resident State Income Tax                                    0.00
                                State Unemployment Insurance - EE                                0.00
                                State Unemployment Insurance Adj - EE                            0.00
                                State Disability Insurance - EE                                  0.00
                                State Disability Insurance Adj - EE                              0.00
                                State Unemployment/Disability Ins - ER                      2,410.33
                                State Family Leave Insurance - EE                                0.00
                                State Family Leave Insurance - ER                                0.00
                                State Medical Leave Insurance - EE                               0.00
                                State Medical Leave Insurance - ER                               0.00
                                Transit Tax - EE                                                 0.00
                                Workers’ Benefit Fund Assessment - EE                            0.00
                                Workers’ Benefit Fund Assessment - ER                            0.00
                                Local Income Tax                                            3,357.84
                                School District Tax                                              0.00
                                Total Taxes Debited                                                     118,452.62
Other Transfers                 Full Service Direct Deposit Acct. No.5413485554Tran/ABA072410013        234,284.36
                                Wage Garnishments Acct. No.5413485554Tran/ABA072410013                    1,800.42                                 Total Liability
                                Total Amount Debited From Your Account                                                                354,537.40                     354,537.40
Bank Debits & Other Liability   Checks                                                                        0.00                                                   354,537.40
                                Adjustments/Prepay/Voids                                                      0.00                                                   354,537.40
Taxes- Your Responsibility      None this payroll
                                                                                                                                                                     354,537.40
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In re: BARFLY VENTURES, LLC, et al.                                                            Case No. 20-1947-jwb
             Debtor                                                                            Reporting Period: October 31, 2020


                       ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                       Amount
Total Accounts Receivable at the beginning of the reporting period
+ Amounts billed during the period
- Amounts collected during the period
Total Accounts Receivable at the end of the reporting period

Accounts Receivable Aging                                                                            Amount
0 - 30 days old                                                                                    169,548
31 - 60 days old
61 - 90 days old
91+ days old
Total Accounts Receivable                                                                          169,548
Amount considered uncollectible (Bad Debt)
Accounts Receivable (Net)

                                                DEBTOR QUESTIONNAIRE

Must be completed each month                                                                       Yes            No
1. Have any assets been sold or transferred outside the normal course of business                   X
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession                                X
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation                X
   below.
4. Are workers compensation, general liability and other necessary insurance                         X
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide                                   X
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.


Debtor Questionnaire explanation.
Q1: The sale of the Debtor's assets closed on October 26, 2020
